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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 20-CIV-22724-GAYLES/OTAZO-REYES

  JUAN NIEVES,

         Plaintiff,
  v.

  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION and JANET DHILLON,
  CHAIR OF THE EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

        Defendants.
  ___________________________________________/

                                     MEDIATOR’S REPORT

         Neil Flaxman, Esq., the undersigned certified Mediator reports to this Honorable Court as

  follows:

         The Mediation was held on the 19th day of July, 2022 at 10:00 a.m. All parties and their
  counsel appeared. The mediation proceeded via Zoom. A resolution was reached subject to the
  execution of a formal settlement agreement.


         Dated this 19th day of July, 2022
                               Respectfully submitted,
                               Neil Flaxman, Esq.
                               Florida Supreme Court Certified Circuit & Appellate Mediator
                               L.R. 16.2 Certified Dist. Ct. Mediator (S.D. Fla.)
                               L.R. 4.02 Certified Dist. Ct. Mediator (M.D. Fla.)
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                               By:     s/ Neil Flaxman
                                       Neil Flaxman, Esq.
                                       Fla. Bar No. 025299
